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- Judgmen in a rimlna| Case

UN|TED STATES DlSTR|CT COURT
Western District of Tennessee

 

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uNrTEo sTATEs oF AMER|GA W 0 "F'~""11`1;1-1 Y;§r'ipcr‘
Plaintiff, 1 1 1118
VS. Case Num ber 2:OOCR20253- 02-B
JuAN REYNA, JR.,
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERV|SED PROBAT|ON VlOLATlON
(For Offenses Committed On or After November1, 1987)

The defendant, Juan Rey na, Jr., was represented by Jake Erwin, Esq.

lt appearing that the defendant, who was convicted on October 12, 2001 in the above styled cause and was placed
on Supervised Release for a period of four (4) years and has violated the terms of Supervised Re|ease.

On Novem ber 1 7, 2004, the defendant’s term of Supervised Release was revoked and defendant was sentenced
to time served. An additional term of one (1) year Supervised Release was ordered with the condition that the defendant
serve six (6) months of Home Confinement.

lt is hereby ORDERED and ADJUDGED that the Super vised Release of the defendant shall be REVOKED.

FURTHERMORE, the defendant shall be committed to a term of six (6) months lncarceration, with no further
supervised release.

Defendant shall surrender for service of custody as directed by the U.S. |Vlarshal.
Report shall be deferred for two weeks The Court recommends placement as close to lVlemphis, Tennessee, as possible.

sk
Signed this the 15 l day of lVlay, 2005.

/

J. o lEL BREEN \
uNlT o sTATEs olsTRlcT Juer

 

Defendant‘s SS No.: 454- 67-7001
Defendant's Date of Birth: 611/1972
U.S. lVlarshal No.: 17580-076

Defendant's N|ailincl Address: 36 Lenzi Lanel lVlunforc|. TN 38058 _
Thls dochent entered on the docket sheet in compliance

with Flule 55 and/cr 32l'bl FRCrP on ° "

DZ_Q_'S

   

UNITS,ED`TATESDISTRIC COURT -WESTER D1STRCT 0F1ENNTESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 295 in
case 2:00-CR-20253 Was distributed by faX, mail, or direct printing on
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Honcrable J. Breen
US DISTRICT COURT

   

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Honorable J. Breen
US DISTRICT COURT

